     Case 2:13-cr-00024-TOR     ECF No. 818    filed 06/29/16   PageID.7847 Page 1 of 2




 1

 2

 3

 4

 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0024-TOR-1
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9          v.                                     MOTION FOR PERMISSION TO
                                                   TRAVEL
10    RHONDA FIRESTACK-HARVEY,

11                             Defendant.

12         BEFORE THE COURT is Defendant’s Motion for Permission to Travel

13   (ECF No. 817). The motion was submitted for consideration without oral

14   argument. The Court has reviewed the motion and the entire file and is fully

15   informed.

16         Defendant requests to travel to San Pedro, California between August 24 and

17   September 2, 2016. In her motion, Defendant notes that neither the government

18   nor the probation office are opposed to her proposed travel. Defendant has been

19   allowed to travel on several occasions during the pendency of this matter with no

20


     ORDER GRANTING DEFENDANT’S MOTION FOR PERMISSION TO
     TRAVEL ~ 1
     Case 2:13-cr-00024-TOR     ECF No. 818    filed 06/29/16   PageID.7848 Page 2 of 2




 1   problems and has otherwise abided by all conditions of release. For good cause

 2   shown, the motion is granted.

 3         ACCORDINGLY, IT IS HEREBY ORDERED:

 4         1. Defendant’s Motion for Permission to Travel (ECF No. 817) is

 5   GRANTED.

 6         2. Defendant is permitted to travel to San Pedro, California between August

 7   24 and September 2, 2016. Defendant shall notify her probation officer of her

 8   travel plans no less than 24 hours before her departure and contact the United

 9   States Probation Office upon her return to either the Eastern or Western District of

10   Washington.

11         3. All other terms and conditions of Defendant’s post-trial supervision

12   remain in effect.

13         The District Court Executive is hereby directed to enter this Order and

14   furnish copies to counsel and the United States Probation Office.

15         DATED June 29, 2016.

16

17                                   THOMAS O. RICE
                              Chief United States District Judge
18

19

20


     ORDER GRANTING DEFENDANT’S MOTION FOR PERMISSION TO
     TRAVEL ~ 2
